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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

STERIGENICS U.S., LLC,                        )
                                              )
       Plaintiff,                             )
                                              )
v.                                            ) Civil Action
                                              ) No.
                                              )
ROGER PHELPS, Chair of the Cobb               )
County Board of Tax Assessors, in his         )
Individual Capacity; JOHN DEMAREST,           )
Cobb County Board of Tax Assessors, in        )
his Individual Capacity; CAROLYN              )
TURNER, Cobb County Board of Tax              )
Assessors, in her Individual Capacity;        )
DANIEL POST, Cobb County Board of             )
Tax Assessors, in his Individual Capacity;    )
and THEA POWELL, Cobb County                  )
Board of Tax Assessors, in her Individual     )
Capacity,                                     )
                                              )
       Defendants.                            )
                                              )

             COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff Sterigenics U.S., LLC (“Sterigenics”) files this Complaint for

Declaratory Judgment against Defendants Roger Phelps, John Demarest, Carolyn

Turner, Daniel Post, and Thea Powell in their individual capacities (collectively,

“Defendants”) for their unlawful acts under the color of their offices as members of
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the Cobb County Board of Tax Assessors that are causing Sterigenics reputational

and imminent economic harm. In support of its claims, Sterigenics shows the Court

as follows:

                                 INTRODUCTION

      1.      Under the color of their offices as members of the Cobb County Board

of Tax Assessors (the “BTA”), Defendants unlawfully cut the “Fair Market Values”

of more than 5,000 residential properties within a two-mile radius of Sterigenics’

Cobb County facility by ten percent in the BTA’s 2020 annual tax assessments.

Defendants publicly blame Sterigenics’ facility for this purported devaluation,

telling residents the devaluation was because of an “Epd-identified environmental

issue” created by Sterigenics’ facility. Defendants took this action despite the

Georgia Environmental Protection Division’s (the “EPD”) confirmation that the

facility is in full compliance with all air regulations and despite the state-of-the art

emissions controls enhancements Sterigenics voluntarily installed at the facility.

And Defendants did so just days after this Court, in another action, entered an order

enjoining the unlawful efforts of County officials to close the facility in response to

political pressure the County has received from an activist group based on unfounded

environmental claims the County has no authority to regulate.

      2.      Defendants, who are political appointees of the Cobb County Board of


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Commissioners, targeted Sterigenics with this devaluation of the more than 5,000

properties at issue arbitrarily and admittedly without supporting data showing a

reduction in properties’ values. Such a devaluation is unlawful under Georgia’s laws

that control property tax valuations. And it violates Georgia law’s prohibition

against arbitrary and unreasonable property valuations by the BTA.

      3.     As a result of Defendants’ unlawful devaluation of these properties,

Sterigenics faces public scorn and an imminent, publicly-announced class action

lawsuit on behalf of thousands of residents asserting Defendants’ unlawful

devaluation of their properties as the basis for their claims. Defendants’ unlawful

action therefore has caused Sterigenics substantial reputational damage, and will

cause Sterigenics to suffer substantial economic harm from the imminent class

action in which Sterigenics will have to face substantial unfounded liability and pay

substantial sums in attorneys’ fees and litigation expenses to defend itself.

      4.     Sterigenics therefore files this Complaint to declare Defendants’

arbitrary devaluation of these properties in the 2020 assessment unlawful and void.

                   PARTIES, JURISDICTION, AND VENUE

      5.     Sterigenics, formerly known as Griffith Laboratories and Griffith

Micro Science, Inc., is a medical product sterilization company whose facilities are

registered with and regulated by the U.S. Food and Drug Administration (“FDA”).


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      6.     Sterigenics operates a medical product sterilization facility in Cobb

County at a location presently identified by the address 2971 Olympic Industrial

Drive, SE, Suite 116, Atlanta, Georgia (the “Facility”).

      7.     Sterigenics is a Delaware limited liability company whose sole member

is Sotera Health LLC. Sotera Health LLC is a Delaware limited liability company

whose sole member is Sotera Health Holdings, LLC. Sotera Health Holdings, LLC

is a Delaware limited liability company whose sole member is Sotera Health Topco,

Inc. Sotera Health Topco, Inc. is a Delaware corporation with its headquarters and

principal place of business in Broadview Heights, Ohio. Consequently, Sterigenics

is a citizen of Delaware and Ohio for the purposes of diversity jurisdiction under 28

U.S.C. § 1332.

      8.     Defendant Roger Phelps is the Chair and a member of the BTA. He is

a resident of Cobb County and a citizen of Georgia for the purposes of diversity

jurisdiction under 28 U.S.C. § 1332.

      9.     Defendant John Demarest is the Vice Chair and a member of the BTA.

He is a resident of Cobb County and a citizen of Georgia for the purposes of diversity

jurisdiction under 28 U.S.C. § 1332.




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      10.     Defendant Carolyn Turner is a member of the BTA. She is a resident

of Cobb County and a citizen of Georgia for the purposes of diversity jurisdiction

under 28 U.S.C. § 1332.

      11.     Defendant Daniel Post is a member of the BTA. He is a resident of

Cobb County and a citizen of Georgia for the purposes of diversity jurisdiction under

28 U.S.C. § 1332.

      12.     Defendant Thea Powell is a member of the BTA. She is a resident of

Cobb County and a citizen of Georgia for the purposes of diversity jurisdiction under

28 U.S.C. § 1332.

      13.     Defendants, in their individual capacities, are proper parties to this case

because of their official acts that are unauthorized by law and in violation of

Sterigenics’ rights, as set forth in this Complaint. Lathrop v. Deal, 301 Ga. 408

(2017).

      14.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a) because the parties are citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

      15.     Defendants’ unlawful action will cause Sterigenics more than $75,000

in losses, including but not limited to the potential unfounded liability Sterigenics

faces in, and the substantial legal fees and expenses it would have to incur to defend


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itself against, the imminent class action lawsuit property owners intend to file on

behalf of more than 5,000 residential property owners against Sterigenics to recover

alleged property value losses based on Defendants’ unlawful action, as well as the

substantial reputational harm Defendants’ unlawful action is causing Sterigenics.

      16.    Sterigenics has standing to bring this action because it is suffering

substantial reputational and imminent financial harm caused by Defendants’

arbitrary and unlawful devaluation of more than 5,000 properties in tax assessment

notices that Defendants publicly blame on Sterigenics’ facility. That unlawful action

has caused Sterigenics to face public scorn, as well as potential unfounded liability

and substantial legal fees and expenses in an imminent unfounded class action

lawsuit on behalf of thousands of property owners to recover for alleged lost property

values based on Defendants’ across-the-board devaluation of their properties.

Declaring Defendants’ arbitrary devaluation of these properties unlawful and void

under Georgia law will redress those reputational and financial harms by eliminating

the unfounded basis for the reputational harm and the imminent lawsuit the

homeowners intend to file.

      17.    The Court has personal jurisdiction over Defendants because they are

citizens of Georgia, and because the events giving rise to the claims in this Complaint

occurred in Georgia.


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       18.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because

Defendants are citizens and residents of Georgia and this Judicial District, and the

events giving rise to the claims in this Complaint occurred in Cobb County within

this Judicial District.

                                           FACTS

I.     Sterigenics Has Sterilized Critical Medical Products at the Facility for
       Almost 50 Years.

       19.    Sterigenics’ Facility is one of only five FDA-registered medical

product sterilization facilities in Georgia.

       20.    The Facility performs essential sterilizations of medical products that

are critical to patient care.

       21.    Sterigenics has used ethylene oxide (“EO”) in gas form to sterilize

products at the Facility since the early 1970s.

       22.    Sterigenics’ use of EO to sterilize medical products is mandated by

specifically-defined sterilization processes for each product.

       23.    In late 2019, the FDA recognized, “there are no readily available

processes or facilities that can serve as viable alternatives to those that use ethylene

oxide to sterilize these devices. In short: this method is critical to our health care

system and to the continued availability of safe, effective and high-quality medical

devices.”

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      24.    Sterigenics has operated the Facility as a medical products sterilization

facility using EO with the County’s knowing and repeated approvals for decades.

      25.    The Facility is located in an area that the County’s zoning ordinance

has designated as a “Heavy Industrial” district, which the County “established to

provide locations for heavy industrial uses such as . . . heavy manufacturing,

chemical manufacturing and storage . . . .” Sec. 134-231(1), Cobb County Ord.

      26.    In 1994, the County Planning Commission and the Board of

Commissioners unanimously approved and granted Sterigenics a Special Land Use

Permit to use the Facility “for the purpose of a Sterilization Facility” and “subject to

the Air Quality Permit issued by the State of Georgia, Department of Natural

Resources, Environmental Protection Division.”

      27.    The Facility is located in an industrial area that includes other

longstanding industrial uses, such as the adjacent 358-acre Plant McDonough-

Atkinson natural gas-fired power plant, the Cobb County Sutton Wastewater

Treatment Facility, and the Atlanta R.M. Clayton Wastewater Treatment Facility.

II.   The Facility Operates in Compliance with Environmental Regulations
      and Has State-of-the-Art Emissions Controls.

      28.    Environmental air quality matters related to Sterigenics’ use of EO at

the Facility are regulated by the EPD. O.C.G.A. §§ 12-9-3(12) and 12-9-4.



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      29.   Sterigenics’ Facility operates in compliance with environmental

regulatory requirements, and the state-of-the-art EO emissions controls in place at

the Facility consistently outperform those requirements.

      30.   The Facility is subject to an Air Quality Permit for EO issued by the

EPD. Its current Air Quality Permit, No. 7389-067-0093-S-05-0, was issued on May

27, 2014 (the “Air Quality Permit”).

      31.   On August 7, 2019, Sterigenics entered into a Consent Order with the

EPD (the “EPD Consent Order”).

      32.   The Consent Order stated:

            The [EPD] requested updated information from
            [Sterigenics] in order to conduct a modeling analysis to
            better characterize the ethylene oxide concentrations in
            areas surrounding the facility. In June 2019 the [EPD]
            completed its modeling analysis of emissions from the
            Facility, which indicate that risk from ethylene oxide
            concentrations in residential areas near the Facility does
            not exceed 100-in-1 million (1 in 10,000), which the US
            EPA uses in regulations as a general guide for determining
            the maximum acceptable lifetime cancer risk.

       33. The Consent Order further stated, “[T]o the extent that the Division can

ascertain, Respondent is operating the Facility in compliance with the Permit and

all applicable Federal and State air regulations[.]”

       34. Despite its compliance with the Air Quality Permit and all federal and

state air regulations, Sterigenics voluntarily made certain enhancements to its

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emissions control system at the Facility to further reduce EO emissions pursuant to

its voluntary agreement in the Consent Order (the “EPD System Enhancements”).

       35. The EPD System Enhancements provide the Facility with the best

available technology to further reduce EO emissions at the Facility beyond their

already safe levels. With the EPD System Enhancements, the Facility’s emissions

controls system is state-of-the-art among all other sterilization facilities in the

United States and captures more than 99.99% of EO emissions, including indoor

fugitive emissions.

       36. In an April 1, 2020 letter posted on the EPD’s public website, the EPD

stated that on March 24, 2020, “the EPD staff observed that the new pollution

control equipment has been installed and is operational.”

       37. On May 12, 2020, the EPD terminated the Consent Order, noting

Sterigenics’ “full and complete performance of each condition” of the Consent

Order.

III.   The Court Enjoined County Officials’ Unlawful Efforts to Close the
       Facility.

       38. Since September of 2019, County officials have been trying to close the

Facility for political purposes based on unfounded environmental matters the

County has no authority to regulate.

       39. In September and October 2019, County officials manufactured a sham

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basis to close the Facility on an unfounded “certificate of occupancy” issue. They

took that unlawful action as an improper pretext to close the Facility because of

unfounded political pressure the County has received from local activists regarding

unfounded environmental claims related to the Facility’s use of EO.

       40. Sterigenics was forced to sue the County officials to reopen the Facility

after they refused to allow the Facility to resume its essential medical product

sterilization operations for months. Case No. 1:20-cv-01382-WMR, Dkt. 1.

       41. After Sterigenics filed that lawsuit, this Court entered an April 8, 2020

order enjoining the County officials’ closure of the Facility pending a final

judgment in the case, which allowed the Facility to resume its essential operations

to sterilize critically-needed medical products. Id. at Dkt. 16.

IV.   Defendants Arbitrarily Devalue All Residential Properties Within Two
      Miles of the Facility.

      42.    After the Court issued its April 8 Order, Defendants (all political

appointees of the County Board of Commissioners) targeted Sterigenics in a

different way, this time cutting all residential property values within a two-mile

radius of its Facility by ten percent, claiming that Sterigenics was the reason for the

devaluation. Exhibit A at 2.




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       43.       Specifically, on April 15, 2020, Defendants voted to impose this

across-the-board devaluation because of a purported “environmental air quality

concern surrounding the Sterigenics plant.” Id.

       44.       Defendants took this action as members of the BTA arbitrarily,

unreasonably, and without supporting data reflecting that the fair market values of

the properties had actually decreased, much less because of Sterigenics’ Facility.

See, e.g., id.

       45.       As stated in the minutes of the BTA’s April 15, 2020 meeting:

                 The BTA recognizes that there is an environmental air
                 quality concern surrounding the Sterigenics plant. To
                 date, there has been limited sales/listing activity occurring
                 within a 2-mile radius of the plant. The lack of data makes
                 it difficult to determine the extent of this issue and its
                 impact on property values in this area. However, the BTA
                 feels it is appropriate to reduce residential property values
                 across-the-board by 10% within this study area for tax year
                 2020 to account for the issue. This entire area will be
                 reviewed again for tax year 2021 to determine if sufficient
                 sales data exists to warrant further adjustments at that
                 time.

                 Motion made by Assessor Post and seconded by Vice
                 Chair to adjust all EPD designated areas, within a 2-mile
                 radius by 10%, including New Construction properties and
                 excluding all properties with nominal values.

                 The Board also made a unanimous vote to include reason
                 code “EPD Identified Environmental Issue” on all 2020
                 notices in the EPD designated areas.


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Id. (emphasis added).

      46.    In late May 2020, more than 5,000 homeowners within a two-mile

radius of the Facility began receiving notices from the BTA stating that their

properties had been “adjusted to reflect current market value” because of an “Epd-

identified environmental issue.” A sample of such a notice is attached as Exhibit B.

V.    Property Owners Intend to File a Class Action Lawsuit Against
      Sterigenics Based on Defendants’ Devaluation of Their Properties.

      47.    Defendants’ arbitrary and unfounded ten percent devaluation of more

than 5,000 residential properties within a two-mile radius of Sterigenics’ Facility for

County tax assessments is causing Sterigenics substantial reputational harm.

      48.    After sending the tax assessment notices to the landowners within a

two-mile radius of Sterigenics’ Facility, the BTA told landowners that Defendants’

devaluation of their properties was because of their proximity to the Facility.

      49.    On July 8, 2020, the Marietta Daily Journal ran an article titled,

“Property values near Sterigenics plant drop 10%; more than 5,000 homes affected.”

Exhibit C. The article reported, “The decision for an across-the-board devaluation

was made in a unanimous vote by the county Board of Tax Assessors, and affects

just under 6,000 properties within a 2-mile radius of the Sterigenics plant, said

Stephen White, the board’s director and chief appraiser. . . .” Id.

      50.    On August 5, 2020, WXIA “11Alive” aired a story titled, “Class action

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lawsuit being prepared against Sterigenics.”1 The story reported:

             Andrew Kurt and his wife are among those filing suit
             against that facility . . . . Kurt told 11Alive they moved
             into the Park at Vinings subdivision in 2013. Then, two
             months ago they received a notice from the Cobb County
             Tax assessor’s [sic] office that the tax assessed value of
             their home had dropped 10% due to a Georgia
             Environmental        Protection      Division     ‘Identified
             Environmental Issue.’

             ‘It’s jarring because our home value is the biggest value
             we have in terms of materialiy. [sic] So, that’s huge,’
             Kurt said.

             ‘If you call them [the BTA], they tell you indeed it’s
             because of the Sterigenics plant,’ he added.

             11Alive did call the Cobb County Tax Assessor’s Office
             and they said, in their opinion, yes, having a plant that uses
             ethylene oxide to sterilize medical equipment did devalue
             nearby homes. . . .

             But the Kurts are not alone. The tax assessor’s office told
             11Alive more than 5,000 homeowners received a similar
             letter with the same devaluation notice - sent to everyone
             living within a two-mile radius of the Sterigenics plant.

             ....

             So, now Kurt and others have joined a class action lawsuit

1
    https://www.11alive.com/video/news/local/class-action-lawsuit-being-prepared-
against-sterigenics/85-20493f01-8df7-4411-b201-7eb8c5eb7991;              Homeowners
near facility emitting toxic gas fight back after home values fall over ‘environmental
issue,’” WXIA (Aug. 5, 2020), https://www.msn.com/en-us/news/us/homeowners-
near-facility-emitting-toxic-gas-fight-back-after-home-values-fall-over-
environmental-issue/ar-BB17CigR (Exhibit D).

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             against Sterigenics, calling it their last hope at health and
             full value of their home.

             The goal, ‘absolutely recoup our value that’s obvious,’
             Kurt said. ‘But also to have Sterigenics close down
             permanently.’

      51.    Defendants’ unlawful actions have therefore caused Sterigenics to

suffer substantial reputational harm and face imminent economic harm from having

to defend itself against an imminent class action lawsuit the property owners intend

to file based on Defendants’ unlawful ten percent devaluation of more than 5,000

properties in the BTA’s 2020 tax assessments.

                        COUNT I – Declaratory Judgment

      52.    Sterigenics re-alleges and incorporates paragraphs 1 through 51 of this

Complaint.

      53.    Defendants’ ten percent devaluation of more than 5,000 residential

properties within a two-mile radius of Sterigenics’ Facility for tax assessment

purposes was arbitrary, unreasonable, and unlawful under Georgia’s tax laws.

      54.    Georgia law requires the BTA to assess taxes on the individual fair

market value of each taxable property. O.C.G.A. §§ 48-5-6, 48-5-7(a).

      55.    Georgia law requires the BTA to “see that all taxable property within

the county is assessed and returned at its fair market value and that fair market values

as between the individual taxpayers are fairly and justly equalized so that each

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taxpayer shall pay as nearly as possible only such taxpayer’s proportionate share of

taxes.” O.C.G.A. § 48-5-306(a); Ga. Comp. R. & Regs. 560-11-10-.01(3) (“[T]he

assessment placed on each parcel of property shall be the assessment established by

the county board of tax assessors as provided in Code section 48-5-306.”).

      56.    Fair market value is defined as “the amount a knowledgeable buyer

would pay for the property and a willing seller would accept for the property at an

arm’s length, bona fide sale.” O.C.G.A. § 48-5-2.

      57.    Pursuant to O.C.G.A. § 48-5-269.1, the Georgia Department of

Revenue (“DOR”) has adopted specific appraisal procedures for determining a

property’s fair market value in an Appraisal Procedures Manual codified at Ga.

Comp. R. & Regs. 560-11-269.09 (the “Appraisal Regulations”). Ga. Comp. R. &

Regs. 560-11-269.01(1); id. 560-11-269.09.

      58.    To determine each taxable property’s individual fair market value, the

BTA’s appraisal staff is required by law to abide by the Appraisal Regulations when

determining a property’s fair market value for tax assessment purposes. Ga. Comp.

R. & Regs. 560-11-10-.01(1) and (3); id. 560-11-10-.09(1) (“The appraisal staff shall

follow the provisions of this Rule when performing their appraisals of real

property.”); see also O.C.G.A. § 48-5-269.1 (“The manual adopted by the

commissioner pursuant to this Code section shall be utilized by county property


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appraisal staff in the appraisal of tangible real and personal property for ad valorem

tax purposes.”).

      59.    The Appraisal Regulations require the BTA’s appraisal staff to

determine the fair market value of a property’s land and improvements (i.e., a house)

separately to determine the property’s total fair market value. Id. at 560-11-10-

.09(3)(a).

      60.    To determine the fair market value of a property’s land, the Appraisal

Regulations require the use of specific appraisal methodologies:           the “sales

comparison” methodology or “income methodology,” giving preference to the sales

comparison approach. Id. at 560-11-10-.09(3).

      61.    To determine the fair market value of a property’s improvements, the

Appraisal Regulations require the use of specific methodologies: the “direct sales

comparison approach,” the “cost approach” or the “income approach.” Id. at 560-

11-10-.09 (4).

      62.    The DOR regulations state, “The county board of tax assessors may not

adopt local procedures that are in conflict with Georgia law or the procedures

required by this manual.” Ga. Comp. R. & Regs. 560-11-10-.01(3).

      63.    In addition, Georgia law expressly precludes arbitrary and

unreasonable valuations of properties for tax purposes by the BTA.


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      64.      Defendants’ ten percent devaluation of all residential properties within

a two-mile radius of the Sterigenics’ Facility violates Georgia law because it does

not assess each property at its fair market value and does not fairly and justly

equalize fair market values as between the individual taxpayers in the County.

      65.      Defendants’ ten percent devaluation of all residential properties within

a two-mile radius of the Sterigenics’ Facility also violates Georgia law because it

does not represent a determination of each property’s fair market value in accordance

with any of the required appraisal methodologies set forth in the Appraisal

Regulations.

      66.      Defendants’ ten percent devaluation of all residential properties within

a two-mile radius of the Sterigenics’ Facility also violates Georgia law because it

was an arbitrary and unreasonable determination of each property’s value.

      67.      As the minutes of the BTA’s April 15, 2020 meeting reflect, Defendants

had no data supporting their ten percent devaluation of the properties at issue:

               To date, there has been limited sales/listing activity
               occurring within a 2-mile radius of the plant. The lack of
               data makes it difficult to determine the extent of this issue
               and its impact on property values in this area. However,
               the BTA feels it is appropriate to reduce residential
               property values across-the-board by 10% within this study
               area for tax year 2020 to account for the issue.

Exhibit A (emphasis added).


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      68. Georgia law does not allow the BTA to apply a uniform across-the-

board reduction of numerous properties’ valuations for tax assessment purposes.

      69. Defendants’ unlawful action to reduce the tax assessment values of

properties within a two-mile radius of its Facility is causing Sterigenics substantial

reputational harm.     Thousands of homeowners now incorrectly believe that

Sterigenics’ Facility has caused their home value to decrease by ten percent.

      70. Defendants’ unlawful action to reduce the tax assessment values of

properties within a two-mile radius of its Facility is also causing Sterigenics to face

imminent and substantial financial harm. Residents within a two-mile radius of

Sterigenics’ Facility are preparing a class action lawsuit against Sterigenics on

behalf of more than 5,000 landowners to recover alleged property value losses based

on Defendants’ unlawful determination that the Facility has devalued their

properties. Sterigenics faces potential unfounded liability and incurring substantial

legal fees and expenses in such a class action because of Defendants’ unlawful

action.

      71. An actual and substantial continuing controversy exists between

Sterigenics and Defendants who have adverse legal interests concerning the legality

of Defendants’ determination that Sterigenics’ Facility has devalued more than

5,000 residential properties within a two-mile radius of the Facility by ten percent.


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        72. Because of Defendants’ unlawful action, Sterigenics will continue to

suffer injuries in the future if Defendants’ determination that Sterigenics’ Facility

has devalued more than 5,000 residential properties within a two-mile radius of the

Facility by ten percent is not declared unlawful and void.

        73. Pursuant to the Uniform Declaratory Judgment Act, 28 U.S.C. §§ 2201

and 2202 and Federal Rule of Civil Procedure 57, Sterigenics is entitled to a

judgment declaring that Defendants’ devaluation of all residential properties within

a two-mile radius of the Facility by ten percent is unlawful and void.

                            PRAYER FOR RELIEF

        WHEREFORE, Sterigenics respectfully requests the following:

        a.   That process issue according to law;

        b.   That the Court declare that Defendants’ devaluation of all residential

properties within a two-mile radius of the Facility by ten percent is unlawful and

void.

        c.   That the Court award Sterigenics its attorneys’ fees and costs incurred

in this case; and

        d.   Any other relief this Court should deem just and appropriate.



                       [Signature block on following page]


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Respectfully submitted this 14th day of August, 2020.


                                   ALSTON & BIRD LLP


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